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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   TROYCE MANASSA, individually and on
   behalf of all others similarly situated,

                      Plaintiff,

           v.
                                                              Case No. 1:20-cv-03172-RLY-MJD
   NATIONAL COLLEGIATE ATHLETIC
   ASSOCIATION,

                       Defendant.


                    THE NCAA’S BRIEF IN SUPPORT OF ITS MOTION TO
                DISQUALIFY FEGANSCOTT LLC AS COUNSEL FOR PLAINTIFF

         Pursuant to Local Rule 7-1(g), the National Collegiate Athletic Association (“NCAA”)

  respectfully files this brief supporting its Motion requesting the disqualification of Fegan Scott

  LLC, (“FeganScott”) as counsel for Plaintiff Troyce Manassa (“Manassa” or “Plaintiff”) and the

  proposed class in this lawsuit. FeganScott has an irreconcilable conflict of interest that at a

  minimum, violates Rules 1.7, 1.9, and 1.10 of the Indiana Rules of Professional Conduct (“RPC”).

  FeganScott lawyers have been on both sides of this case, and the firm’s continued representation

  of Plaintiff and the proposed class violates the RPC, and is highly prejudicial to NCAA.

                                    I.     Summary of Argument

         The Rules of Professional Conduct are intended to protect clients like the NCAA from

  having its lawyers represent the Plaintiff and Defendant on both sides of the “v.” in an active

  litigation. When such a conflict of interest occurs in the same legal dispute, it violates the duty of

  loyalty owed to clients, and also causes a substantial risk that confidential factual information that

  would have been obtained from a client can be used by a client’s adversary.



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         Here, a full-time FeganScott attorney named Ravi Sakthivel, worked under the direct

  supervision of Plaintiff’s lead co-counsel Elizabeth Fegan (“Fegan”), while simultaneously

  working as an attorney for the Defendant the NCAA in this lawsuit. While never disclosing to the

  NCAA his concurrent FeganScott employment, let alone that Plaintiff’s lead co-counsel was his

  supervisor, Mr. Sakthivel billed 183.7 hours to the NCAA’s e-discovery vendor for work

  reviewing, analyzing, and coding 6,622 NCAA documents as a contracted NCAA document

  review attorney. In fact, the work Mr. Sakthivel performed for the NCAA informed the NCAA’s

  production of the NCAA’s documents to Mr. Sakthivel’s employer, FeganScott, because this

  document review project responded to the requests for production that Plaintiff served on the

  NCAA via Ms. Fegan. Of particular concern, while a full-time FeganScott attorney, Mr. Sakthivel

  reviewed and coded at least 640 NCAA documents as responsive that were produced to

  FeganScott, including to his direct supervisor Ms. Fegan.

         The NCAA does not make this request lightly. While Plaintiff is generally entitled to

  counsel of its choice, allowing FeganScott’s attorneys to simultaneously represent the Plaintiff and

  Defendant in this lawsuit, and make strategy decisions regarding what documents Defendant

  selects to produce to Plaintiff in response to Plaintiff’s discovery requests, undermines both the

  legal duty of loyalty and fidelity to a client, and the assurances the RPC is meant to grant clients.

  The Rules of Professional Conduct impute attorney violations like this to their firm of employment.

  For the reasons set forth herein, FeganScott must be disqualified as counsel in this litigation. Any

  contrary result would indicate that the Rules of Professional Conduct lack the client protections

  the Rules are meant to safeguard.

                                      II.    Factual Background

     A. FeganScott’s clients file this lawsuit against the NCAA, shortly after Ravi Sakthivel
        joins FeganScott as a staff attorney under Elizabeth Fegan’s direct supervision.



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         On September 7, 2020, FeganScott hired Ravi Sakthivel (“Sakthivel”) to work as a “full-

  time” staff attorney staffed to “report directly to Elizabeth Fegan.” (See, Ex. A, Declaration of

  Brian E. Casey, at Ex. 4 p. 1).1 According to FeganScott's website, Mr. Sakthivel has “over a

  decade of experience” and a “wealth of experience” in, among other things, “document review.”

  (Id. at Ex. 3 and its Ex. A attachment). Two months after Mr. Sakthivel joined FeganScott, his

  supervisor, Ms. Fegan, filed the instant lawsuit against the NCAA, on behalf of the then Plaintiffs

  and proposed class. (Dkt. No. 1 at p. 57, signature block).

         FeganScott has widely publicized its role as Plaintiff’s counsel in this lawsuit, as well as

  its serial history of suing the NCAA on behalf of other clients in other litigations, including on the

  firm’s own website. (See, Ex. A, Casey Decl., at ¶ 10). In addition to this lawsuit, under Ms.

  Fegan’s counsel, FeganScott is actively litigating another lawsuit against the NCAA styled John

  Doe v. the NCAA, the University of San Francisco et al., Case No. 22-1559, pending in the U.S.

  District Court for the Northern District of California San Francisco Division. (Id. at ¶ 11).

  FeganScott while also under Ms. Fegan’s counsel, litigated the formerly pending case Erin Aldrich

  v. The NCAA, Case No. 5:20-cv-01733-EJD in the Southern District of Indiana, Indianapolis

  Division. (Id.). Ms. Fegan also served as co-lead counsel in concussion related ligations filed

  against the NCAA. (Id. at ¶¶10-11).

     B. Plaintiff serves comprehensive discovery on the NCAA that necessitates the
        engagement of document review attorneys.

         Plaintiff, acting through FeganScott counsel including Ms. Fegan, served sixty (60)

  comprehensive requests for production on the NCAA without, among other things, an applicable



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            The NCAA incorporates by reference as if set forth fully herein the Declarations attached as
  Exhibits A and B to this Motion and their accompanying exhibits.



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  date range specified in the requests. (See, Ex. A, Casey Decl., at Ex. 1 at p. 13). Mr. Sakthivel was

  a FeganScott attorney when his supervisor served these document requests on the NCAA. (See,

  Ex. A, Casey Decl., at Ex. 4 p. 1 and 3).

         The NCAA retained Proteus Discovery Group, LLC (“Proteus”) to assist the NCAA with

  e-discovery needs in this lawsuit, including items related to producing non-privileged documents

  responsive to the requests for production Plaintiff served on the NCAA (the “Manassa Project”).

  (See, Ex. A, Casey Decl., at ¶ 4). Proteus has a longstanding relationship with the NCAA, and

  has assisted the NCAA with a variety of e-discovery related needs since 2017, including in

  connection with roughly fifty (50) other lawsuits. (See, Ex. B, Declaration of Raymond J.

  Biederman, at Ex. ¶¶ 2-4).

         In order to respond to the discovery served by Plaintiff, the NCAA collected a voluminous

  universe of data exceeding 250 GB, much of which includes non-public material, and sensitive

  material related to academics and student-athletes, and their personally identifiable information.

  (See, Ex. A, Casey Decl., at ¶ 5). Given the volume of collected documents, the NCAA required

  the assistance of document review attorneys to analyze and review the universe of collected

  documents for considerations related to document responsiveness, confidentiality, privilege, and

  issue coding. (Id. at ¶ 6). Proteus, as the NCAA’s e-discovery vendor in this lawsuit, retained

  attorneys to assist in the above review, analysis, and coding of NCAA documents. (Id. at ¶ 7).

         Proteus has handled (and is currently handling) the NCAA’s e-discovery needs in

  additional lawsuits aside from the Manassa Project that also include FeganScott as Plaintiff’s

  counsel. (See, Ex. B, Biederman Decl., at ¶ 32). Those lawsuits include the Doe case currently

  pending in the Northern District of California and the Aldrich case which was venued in the

  Southern District of Indiana, Indianapolis Division. (Id.). As a result of the numerous matters in




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  which Proteus has assisted the NCAA, and the varying scope of those matters, Proteus’ databases

  contain substantial amounts of NCAA data, much of which is non-public. (Id. at ¶¶4, 24, 32).

  Proteus document reviewers are given permissions based access to this material. (Id. at ¶ 32).

     C. Mr. Sakthivel applied for two Proteus document review positions while a full-time
        FeganScott attorney.

         While a “full-time” FeganScott attorney, Mr. Sakthivel submitted two applications to

  Proteus for an independent contractor position as a document review attorney for Proteus’ clients

  on two separate projects. (See, Ex. B, Biederman Decl., at ¶¶ 7-8); (Ex. A, Casey Decl., at Ex. 4

  p. 1 and 3). The second application that Mr. Sakthivel submitted to Proteus was for a document

  review attorney position to assist in the review, analysis, and coding of the NCAA’s documents in

  the Manassa Project. (See, Ex. B, Biederman Decl., at ¶ 9). After performing due diligence, Proteus

  hired Mr. Sakthivel as a document review attorney for the NCAA in the Manassa Project, on or

  about March 2, 2022. (Id. at ¶¶ 10-17). Notably, all of the application materials that Mr. Sakthivel

  submitted to Proteus, including the current copy of his resume, omitted any reference whatsoever

  to FeganScott. (Id. at ¶ 10). In fact, he affirmatively represented in his resume that he was currently

  employed by Robbins Geller Rudman & Dowd LLP. (Id.).

         Prior to starting work as a document review attorney for the NCAA on the Manassa Project,

  Mr. Sakthivel responded to a conflict of interest form that conspicuously disclosed that the NCAA

  was Proteus’ client for this engagement. (Id. at ¶¶ 16-17). Mr. Sakthivel confirmed in writing that

  no actual or potential conflict of interest existed in any manner that would preclude his review,

  analysis, or coding of documents provided by the NCAA (Id. at ¶ 17).

     D. Mr. Sakthivel worked as an NCAA document review attorney, responding to the
        discovery requests that FeganScott served on the NCAA all while employed as a
        FeganScott attorney working under Ms. Fegan’s supervision.

         Mr. Sakthivel began work for the NCAA on the Manassa Project on or about March 2,



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  2022 (See, Ex. B, Biederman Decl., at ¶ 11). At that time, he remained a full-time FeganScott

  attorney, a fact unknown to the NCAA, Proteus, and the undersigned counsel. (Ex. A, Casey Decl.,

  at Ex. 4 p. 1 and 3); (Ex. A, Casey Decl., at ¶¶ 9, 13).

         As an attorney working on the Manassa Project, Mr. Sakthivel was provided a

  comprehensive document review protocol to review prior to reviewing the NCAA’s documents.

  (See, Ex. B, Biederman Decl., at ¶ 18). This protocol is privileged attorney-work product

  developed with the NCAA’s counsel at Barnes & Thornburg LLP (the “NCAA’s Lead Counsel”).

  (Id.). Among other things, the protocol contains the mental impressions of the NCAA’s Lead

  Counsel regarding issue codes that the reviewers are instructed to use, which are associated with

  case themes and legal issues specific to the NCAA’s legal strategy and defense in this lawsuit.

  (Id.). The protocol provided to Mr. Sakthivel contained exhibits which included, among other

  things, a copy of the Complaint in this lawsuit, and Plaintiff’s requests for production served on

  the NCAA. (Id. at ¶ 19). Both of these documents prominently indicate in their respective signature

  blocks that FeganScott, including Ms. Fegan, serves as Plaintiff’s counsel in this lawsuit. (Id.).

         Mr. Sakthivel attended at least four substantive meetings regarding case strategy in the

  Manassa Project, and instructions regarding how to code the NCAA’s documents. (Id. at ¶ 21).

  One of these meetings included the training session for independent contract attorneys working on

  the Manassa Project. (Id.). The NCAA’s Lead Counsel participated in this recorded meeting, and

  shared among other things, their view of the lawsuit, mental impressions about the case, and

  general case strategy. (Id.). Proteus’s general practice is to record its Manassa Project strategy

  meetings and make those recordings available to project document reviewers, as a team resource

  to assist with questions that may arise during the Manassa Project. (See, Ex. B, Biederman Decl.,

  at ¶ 22). Mr. Sakthivel had access to the Manassa Project recorded meetings. (Id.).




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         Mr. Sakthivel was given access to the Relativity database that houses all documents

  collected for the NCAA in the Manassa Project, including those documents not yet reviewed for

  responsiveness or privilege. (Id. at ¶ 24). The documents collected include custodial Exchange and

  OneDrive data and non-custodial SharePoint data. (Id.). These documents are not publicly

  available and were collected based on NCAA’s Lead Counsel’s work product. (Id.). These

  documents are used in a wide variety of NCAA cases, including other NCAA cases involving

  FeganScott. (Id.). By way of example, documents collected in the Manassa Project included

  privileged legal hold memoranda and custodian interview information for the Erin Aldrich v. The

  NCAA case (in which FeganScott was lead counsel). (Ex. B, Biederman Decl., at ¶ 24).

         Further, as an attorney on the Manassa Project, Mr. Sakthivel was also given access to the

  Manassa Project’s Microsoft Teams discussion board. (Id., at ¶ 23). Proteus uses this interactive

  discussion board to notify document review attorneys about various items concerning this

  lawsuit’s legal strategy, including, without limitation, to: (a) summarize meetings with the NCAA

  Lead Counsel regarding various case strategy items, (b) provide information to attorneys regarding

  how to code documents using various issue codes, (c) respond to attorney inquiries regarding

  privilege, confidentiality, and responsiveness considerations for documents, and (d) to touch base

  regarding status and general questions among all document review attorneys. (Id.).

         Proteus provided Mr. Sakthivel with Proteus specific credentials to use for all work related

  to the Manassa Project that had specific privacy protections. (Id. at ¶ 25). That said, Proteus cannot

  confirm what screenshots, recordings, or copies that Mr. Sakthivel took of any documents or

  material made available to him as an attorney working on the Manassa Project for the NCAA, or

  shared with others. (Id.).

         On April 4, 2022, Proteus terminated Mr. Sakthivel as an independent contractor on the




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  Manassa Project tellingly, due to “the severity and quantity of issues” seen by Proteus during

  document review quality control of documents tagged by Mr. Sakthivel that continued to occur,

  even after Proteus provided him with feedback. (Id., at ¶ 26 and Ex. 4). From March 2022 through

  his April 4, 2022, termination, Mr. Sakthivel billed 183.7 hours for his review, analysis, and coding

  NCAA documents in the Manassa Project. (Id. at ¶ 27). In that time, Mr. Sakthivel reviewed and

  coded 6,622 NCAA documents, some of which were voluminous documents exceeding 100 pages,

  and some of which contained confidential information. (Ex. B, Biederman Decl., at ¶ 27). Further,

  Mr. Sakthivel had access to and ran numerous queries over the document population. (Id.). These

  searches included viewing a search of all of the documents identified as important on initial review.

  (Id.). At least 640 NCAA documents that Mr. Sakthivel reviewed and marked as responsive were

  produced to his full-time employer FeganScott. (Id. ¶ 28).

         It is unknown the extent to which Mr. Sakthivel’s FeganScott employment influenced the

  way he reviewed and coded the NCAA’s documents. In an abundance of caution, the NCAA must

  expend reasonable attorneys’ fees, expenses, and time that attorneys on this file are not working

  on other aspects of this case on damage control, including investigating implications of a breach

  of confidentiality as to matters discussed herein, and review and quality checking each document

  reviewed or tagged by Mr. Sakthivel. (See, Ex. A, Casey Decl., at ¶ 18).

     E. The NCAA never consented to FeganScott’s conflict of interest.

         On or about April 22, 2022, Proteus informed the NCAA’s Lead Counsel that it learned

  that day that Mr. Sakthivel appeared to be an attorney employed by Plaintiff’s counsel FeganScott.

  (See, Ex. A, Casey Decl., at ¶ 9). Upon receipt of this news, the NCAA’s Lead Counsel began to

  promptly investigate this matter, and its conflict of interest implications. (Id.). Prior to this date,

  the NCAA’s Lead Counsel, the NCAA, and Proteus had no knowledge of Mr. Sakthivel’s




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  affiliation with FeganScott. (Id.); (Ex. B, Biederman Decl., at ¶ 29). The NCAA’s Lead Counsel’s

  investigation revealed that, as of April 26, 2022, FeganScott publicly held Mr. Sakthivel out as an

  experienced attorney employed by its firm, and that Mr. Sakthivel’s LinkedIn profile listed him as

  a FeganScott employed attorney. (Ex. A, Casey Decl., at ¶ 12). The NCAA has no knowledge of

  Mr. Sakthivel or anyone else on behalf of FeganScott ever requesting that the NCAA waive any

  conflict of interest. (Id. at ¶ 13). Further, the NCAA never consented in writing (or otherwise) to

  any FeganScott attorney performing work for the NCAA in any capacity in this lawsuit, or any

  other matter. (Id.).

          On April 26, 2022, the NCAA’s counsel sent Ms. Fegan a letter informing her of this

  conflict of interest, and requesting that FeganScott withdraw as counsel. (Id. at ¶ 12). On May 1,

  2022, Ms. Fegan e-mailed a letter to Mr. Casey responding to the issues raised in the April 26,

  2022 letter. (Id. at ¶ 14). Among other things, Ms. Fegan’s response letter: (a) confirmed that Mr.

  Sakthivel was a full-time FeganScott staff attorney the entire time that he worked as an NCAA

  document review attorney at Proteus in the Manassa Project, (b) confirmed that Ms. Fegan was

  Mr. Sakthivel’s direct supervisor, and (c) confirmed that as of April 2022, FeganScott was in the

  process of staffing Mr. Sakthivel on this lawsuit to work on Plaintiff’s behalf. (Id.).

          FeganScott had planned a summer meeting with Mr. Sakthivel regarding his assistance on

  behalf of Plaintiff in this case. (See, Ex. A, Casey Decl., at ¶ 14 Ex. 4 p. 3). Ms. Fegan placed Mr.

  Sakthivel on “administrative leave” from FeganScott on April 26, 2022. (See, Ex. A, Casey Decl.,

  at Ex. 4 p. 3). Ms. Fegan acknowledged that Mr. Sakthivel’s actions pose “potentially grave

  consequences to [FeganScott] and its clients.” (See, Ex. B, Biederman Decl., at Ex. 5 p. 1).

  Despite this acknowledgement, FeganScott refused to withdraw as Plaintiff’s counsel in this

  lawsuit. (See, Ex. A, Casey Decl., at ¶ 15).




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                                  III.    Arguments & Authorities

  A.      Standard of law.

          The RPC govern attorneys who practice before this Court. L.R. 83-5(e). “Whether

  disqualification is appropriate in this case is governed by the Indiana Rules of Professional

  Conduct. Lawyers representing clients in federal courts must follow federal rules, but most ‘federal

  courts use the ethical rules of the states in which they sit.’” Watkins v. Trans Union, LLC, 869 F.3d

  514, 519 (7th Cir. 2017) (citations omitted). “A trial court may disqualify an attorney for a

  violation of the Indiana Rules of Professional Conduct.” Reed v. Hoosier Health Sys., Inc., 825

  N.E.2d 408, 411 (Ind. Ct. App. 2005); see also Robertson v. Wittenmyer, 736 N.E.2d 806 (Ind. Ct.

  App. 2000) (“Our supreme court has held that a lawyer must be disqualified from a pending case

  if that case is substantially related to a matter in which the lawyer previously represented another

  client.”)

          “In interpreting the Rules of Professional Conduct, federal courts may rely on the specific

  guidance offered in the commentary.” Watkins, 869 F.3d at 519; Holmes v. Credit Prot. Ass'n

  L.P., No. 1:17-CV-3995-WTL-MPB, 2018 WL 5777324, at *2 (S.D. Ind. Nov. 2, 2018). Further,

  “the Seventh Circuit has instructed courts to resolve doubts in favor of disqualification.” Exterior

  Sys., Inc. v. Noble Composites, Inc., 175 F. Supp. 2d 1112, 1115 (N.D. Ind. 2001) (granting motion

  to disqualify counsel) (citing Cromley v. Board of Educ., 17 F.3d 1059, 1066 (7th Cir. 1994) and

  United States v. Goot, 894 F.2d 231, 235 (7th Cir. 1990)).

          A primary purpose of the RPC is to protect the duty of loyalty in attorney-client

  relationships. See e.g., (RPC 1.7 Comment No. 1) (“Loyalty and independent judgment are

  essential elements in the lawyer's relationship to a client.”); (id. at Comment No. 9) (“In addition

  to conflicts with other current clients, a lawyer’s duties of loyalty and independence may be

  materially limited by responsibilities to former clients under Rule 1.9 or by the lawyer’s


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  responsibilities to other persons, such as fiduciary duties arising from a lawyer's service as a

  trustee, executor or corporate director.”) Further, conflicts of interest can be imputed to an

  attorney’s firm to give “effect to the principle of loyalty to the client as it applies to lawyers who

  practice in a law firm.” RPC 1.10, Comment No. 2; see also Bethlehem Steel Corp. v. Sercon

  Corp., 654 N.E.2d 1163, 1170 (Ind. Ct. App. 1995) (“That the duty of loyalty to a client extends

  to all members of a firm, not merely those directly responsible for the client's representation, is

  beyond question.”)

         As discussed below, pursuant to RPC 1.10, Mr. Sakthivel’s conflicts of interest must be

  imputed to FeganScott.

  B.     Mr. Sakthivel Violated Rule of Professional Conduct 1.7

         The entire time that Mr. Sakthivel worked as a document review attorney for the NCAA,

  he was a full-time FeganScott attorney working under the direct supervision of Plaintiff’s co-lead

  counsel in this lawsuit. (Ex. A, Casey Decl., at Ex. 4 p. 1 and 3); (Ex. B, Biederman Decl., at ¶

  11). Thus, this conflict concerns the simultaneous representation of one client directly adverse to

  the other. Folsom v. Menard, Inc., No. 3:09-CV-94-RLY-WGH, 2011 WL 1404875, at *2 (S.D.

  Ind. Apr. 13, 2011) (Young, J.) (“In this case, the facts clearly demonstrate that FBT represented

  Menard in the Patel matter. FBT also, during the same time period, represented and still represents

  NARSI in this matter. Therefore, we are clearly and unequivocally dealing with a concurrent

  representation that implicates Rule 1.7.”) (emphasis added).2 Worse, here, a lawyer



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            Mr. Sakthivel’s ability to bill 183.7 hours of work reviewing and analyzing the NCAA’s
  documents, during the time that he was a full-time Fegan Scott employee under Ms. Fegan’s direct
  supervision, casts serious doubt about the reasonableness of FeganScott’s efforts to ensure that Mr.
  Sakthivel abided by the RPC. See, e.,g. RPC 5.1(b) (“A lawyer having direct supervisory authority over
  another lawyer shall make reasonable efforts to ensure that the other lawyer conforms to the Rules of
  Professional Conduct.”).



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  simultaneously represented both sides in the very same case.

          Mr. Sakthivel’s conduct is a blatant violation of RPC 1.7, which prohibits an attorney from

  representing a client “if the representation involves a concurrent conflict of interest.” RPC 1.7 (a).

  “A concurrent conflict of interest exists if: (1) the representation of one client will be directly

  adverse to another client; or (2) there is a significant risk that the representation of one or more

  clients will be materially limited by the lawyer’s responsibilities to another client, a former client

  or a third person or by a personal interest of the lawyer.” RPC 1.7 (a) (emphasis added). RPC 1.7

  (a)(1) and (a)(2) both apply here. The NCAA is directly adverse to Plaintiff and the proposed class

  in this lawsuit, and Mr. Sakthivel was simultaneously working as an attorney for the NCAA and

  for the firm representing Plaintiff and the proposed class in this lawsuit. (Supra at 5, 8-9). As

  explained by Judge Young, “[t]he only manner in which a concurrent conflict of interest under

  Rule 1.7 can be waived is in writing after informed consent.” Folsom, 2011 WL 1404875, at n. 2

  (emphasis in original) (citing Van Kirk v. Miller, 869 N.E.2d 534, 541 (Ind. Ct. App. 2007)). The

  NCAA never consented; thus this conflict cannot be waived.

          At its core, Mr. Sakthivel’s conduct violates the duties of loyalty that the RPC aims to

  safeguard. Pursuant to RPC 1.7 Comment No. 6, Mr. Sakthivel’s conduct violated this rule’s goal

  of preserving the duty of loyalty owed to clients. (RPC 1.7, Comment No. 6) (“Loyalty to a current

  client prohibits undertaking representation directly adverse to that client without that client’s

  informed consent. Thus, absent consent, a lawyer may not act as an advocate in one matter against

  a person the lawyer represents in some other matter, even when the matters are wholly unrelated.”)

  Comment No. 6 also makes abundantly clear that when a concurrent conflict of interest exists, like

  the one here, “the client on whose behalf the adverse representation is undertaken reasonably may

  fear that the lawyer will pursue that client’s case less effectively out of deference to the other client,




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  i.e. that the representation may be materially limited by the lawyer’s interest in retaining the current

  client.” Id. The conflicts of interest occurring under RPC 1.7 cannot be waived here because the

  NCAA did not consent in writing to any conflict of interest. (Ex. A. Casey Dec., at ¶ 13); (RPC

  1.7 (b)(4)).

          “Indiana provides that a conflict may be waived only if ‘the representation does not involve

  the assertion of a claim by one client against another client represented by the lawyer in the same

  litigation or other proceeding before a tribunal.’” Malibu Media, LLC v. Tashiro, No. 1:13-CV-

  00205-WTL, 2015 WL 3631712, at *5 (S.D. Ind. June 9, 2015) (Dinsmore, J.) (citing Ind. Rules

  of Prof'l Conduct R. 1.7(b)(3)) (emphasis added). Here, FeganScott attorneys have concurrently

  represented Plaintiff and Defendant in this lawsuit; thus this conflict cannot be waived. See e.g.,

  RPC 1.10 Comment No. 6.

          “Furthermore, an attorney’s withdrawal in one of the two conflicting matters does not

  remove the conflict; the Indiana Court of Appeals has explained that ‘conflicts may not be avoided

  by withdrawal.’” Folsom, 2011 WL 1404875, at *2 (citing Reed, 825 N.E.2d at 412). Therefore,

  the applicable conflict of interest cannot be cured or waived by Proteus’s termination of Mr.

  Sakthivel from the Manassa Project, or by Mr. Sakthivel being terminated from FeganScott,

  assuming he has been formally terminated instead of simply being placed on “administrative

  leave.” (See, Ex. A, Casey Decl., at Ex. 4 p. 3). Under Indiana law, “conflicts may not be avoided

  by withdrawal.” Folsom, 2011 WL 1404875, at *2; Reed, 825 N.E.2d at 412 (“‘It is ... established

  law that an attorney cannot avoid disqualification ... merely by ‘firing’ the disfavored client ... and

  transforming a continuing relationship to a former relationship by way of client abandonment’….”)

  (citations omitted).

          Courts in other districts have disqualified law firms based on similar conflicts of interest




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  applying virtually identical versions of RPC 1.7. See e.g., Altova GmbH v. Syncro Soft SRL, 320

  F. Supp. 3d 314 (D. Mass. 2018); Deere & Co. & John Deere Shared Services, Inc., Plaintiffs, v.

  Kinze       Manufacturing,      Inc.   &     Ag    Leader     Technology,      Inc.,   Defendants.,     No.

  420CV00389RGESHL, 2021 WL 5334212, at *5 (S.D. Iowa Oct. 1, 2021) (disqualifying counsel

  under Iowa’s parallel Rule 1.7 explaining that “The Court does find a concurrent conflict of interest

  existed as to Harty and Nyemaster’s representation of Ag Leader and Deere. As such, the Court

  grants Defendants’ motion to disqualify.”) In Altova GmbH, the law firm Sunstein represented two

  clients simultaneously, Syncro Soft and Altova, and the Court held that the firm’s termination of

  its representation of one client to continue representing the other did not resolve the conflict of

  interest. Id. at 318; id. at 314 (“To attempt to avoid the conflict of interest, Sunstein terminated its

  relationship with Syncro Soft.”) Recognizing that “[p]articularly important in a case like this one

  is the duty of loyalty,” the Altova court disqualified the law firm, based on Massachusetts’ parallel

  Rule of Professional Conduct 1.7. Id. at 319.3

          Likewise, in Deere, the Court held that an attorney “did not take any of the actions

  required” under Iowa’s parallel Rule 1.7 (i.e. get informed written consent from the conflicted

  client), when the attorney withdrew its representation of one client “in order to pursue an adverse”

  representation of the other client. 2021 WL 5334212, at *14. Courts regularly acknowledge this

  rule in connection with the analogous “hot potato doctrine” which prohibits an attorney from firing

  a current client to try to “cur[e] a simultaneous representation of adverse interests.” Lectric

  Limited, Inc. v. DGW, Inc., No. 15 C 7744, 2017 WL 1149335, at *3 (N.D. Ill. March 28, 2017)

  (internal citations omitted). In such situations, “the former client is treated as a current client for

  the client conflicts analysis.” Id.


          3
              Massachusetts Rule of Professional Conduct 1.7 is the same in all material respects to RPC 1.7.



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          It is clear that “courts look to the point in time at which the conflict arose, not when the

  litigation is filed” when assessing concurrent conflicts. Troika Media Group, Inc. v. Stephensen,

  No. 19 CIV. 145 (ER), 2019 WL 5587009, at *5 (S.D.N.Y. Oct. 30, 2019). Here, because all the

  conflicted conduct occurred entirely while Mr. Sakthivel worked for both FeganScott and the

  NCAA, this is a Rule 1.7 conflict of interest, regardless of Mr. Sakthivel’s present relationship to

  the NCAA or to FeganScott. See, e.g., Unified Sewerage Agency of Washington Cnty., Or. v. Jelco

  Inc., 646 F.2d 1339, 1345 n.4 (9th Cir. 1981) (“This standard continues even though the

  representation ceases prior to filing of the motion to disqualify. If this were not the case, the

  challenged attorney could always convert a present client into a ‘former client’ by choosing when

  to cease to represent the disfavored client.”); Ehrich v. Binhgamton City School Dist., 210 F.R.D.

  17, 25 (N.D.N.Y. 2002) (internal quotations omitted).

          There is no way to un-ring the bell here. Disqualification of FeganScott is the only remedy

  that can in any way rectify the fact that for at least 183.7 hours, FeganScott counsel worked on

  both sides of the v. in this ongoing litigation with respect to current clients.

  C.      Mr. Sakthivel Violated Rule of Professional Conduct 1.9

          Any “attempt to turn a concurrent relationship into a former relationship by merely

  withdrawing from representation of one of the two parties will not suffice.” Folsom, 2011 WL

  1404875, at n 1. Accordingly, for the reasons set forth above, RPC 1.7 applies to this conflict of

  interest and is the most appropriate lens through which to view this dispute. That said, Mr.

  Sakthivel’s conduct also violated RPC 1.9(a) and (b). The provisions in those rules “are for the

  protection of former clients and can be waived if the client gives informed consent, which consent

  must be confirmed in writing under paragraphs (a) and (b).” (See RPC 1.3 Comment No. 9). The

  NCAA did not provide (nor was it asked to provide) informed consent in writing. (Ex. A. Casey

  Dec., at ¶ 13).


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         Because the NCAA did not provide written informed consent, the conduct at issue violated

  RPC 1.9 (a), which provides that a “lawyer who has formerly represented a client [the NCAA] in

  a matter [this lawsuit] shall not thereafter represent another person [Plaintiff and the proposed

  class] in the same or substantially related matter in which that person’s interests are materially

  adverse to the interests of the former client [the NCAA].” This conflict concerns “the same or a

  substantially related matter” because it involves the same dispute. (See RPC 1.10, Comment No.

  3) (Matters are “substantially related” “if they involve the same transaction or dispute…”)

         The conduct at issue also violates RPC 1.9(b), which prohibits an attorney from knowingly

  representing a person “in the same or a substantially related matter in which a firm with which the

  lawyer formerly was associated had previously represented a client (1) ‘whose interests are

  materially adverse to that person; and (2) about whom the lawyer had acquired information

  protected by Rules 1.6 and 1.9(c) that is material to the matter; unless the former client gives

  informed consent, confirmed in writing.’” First, this conflict concerns “the same or a substantially

  related matter in which a firm [FeganScott] with which the lawyer formerly was associated [Mr.

  Sakthivel] had previously represented a client [the NCAA].” (Id.). Second, the NCAA’s interests

  are materially adverse to Plaintiff and the proposed class members. Third, Mr. Sakthivel “acquired

  information protected by Rules 1.6 and 1.9(c) that is material to the matter.” (RPC 1.9(b)). Such

  matter includes among other things: (a) the document review protocol that Mr. Sakthivel obtained

  while working for the NCAA which contains attorney-work product, (b) access to the NCAA’s

  documents hosted on Relativity, which included documents not yet reviewed for responsiveness

  or privilege, (c) access to the recorded Manassa Project strategy meetings, (d) access to the

  Manassa Project’s Microsoft Teams discussion board, and (e) access to the 6,622 NCAA

  documents that Mr. Sakthivel reviewed and coded while a full-time FeganScott attorney. (Ex. B.,




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  Biederman Decl., at ¶¶ 19-24, and 27).

          Notably, Comment No. 6 to RPC 1.9 makes clear that “[a]pplication of paragraph b

  depends on a situation’s particular facts, aided by inferences, deductions or working presumptions

  that reasonably may be made about the way in which lawyers work together.” In addition to the

  above, this comment’s guidance makes clear that Mr. Sakthivel violated Rule 1.9(b). Here, Mr.

  Sakthivel worked under Ms. Fegan’s direct supervision while she served as co-lead counsel for

  Plaintiff and the proposed class members in a lawsuit that her clients filed against the NCAA (Ex.

  A, Casey Decl., at Ex. 4 p. 1 and 3.) FeganScott’s role as Plaintiff’s counsel in this lawsuit is

  widely publicized, including, but not limited to on multiple pages within FeganScott’s website.

  (Supra at 3.) Further, the protocol materials, along with the other documents (like the Complaint

  and Plaintiff's discovery requests) provided to Mr. Sakthivel as an NCAA document reviewer

  expressly state that FeganScott, including Ms. Fegan, act as Plaintiff’s counsel in this lawsuit. (See,

  Ex. B, Biederman Decl., at ¶ 19.)

  D.      Mr. Sakthivel’s Violation of RPC 1.7 and 1.9 Must Be Imputed to FeganScott
          Pursuant to RPC 1.10

          Mr. Sakthivel’s RPC violations are imputed to FeganScott, 4 in accordance with RPC Rule

  1.10 which imputes a lawyer’s conflicts of interest to the law firms that the attorney has been

  associated with in several contexts applicable here. In general, an attorney’s conflict of interest is




          4
             Authority supports the imputation of this conflict of interest to FeganScott’s co-counsel as well,
  see e.g., Leathermon v. Grandview Mem'l Gardens, Inc., No. 4:07-CV-137-SEB-WGH, 2010 WL 1381893,
  at 11-12 (S.D. Ind. Mar. 31, 2010) (granting motion to disqualify counsel applying RPC 1.9 and 1.10) (see
  id. at *12) (“The Wyatt firm is also disqualified from representing Plaintiffs in this matter by virtue of their
  status as co-counsel to Mr. Eckert… Even if the Wyatt firm were determined as a factual matter to be
  completely innocent lacking any knowledge of Mr. Eckert's prior representation of Mr. Mefford and
  Grandview LLC, as co-counsel, the Wyatt attorneys clearly had access, actual or potential, to whatever
  confidential information Mr. Eckert and, by extension, Mr. Goebel, obtained while representing Grandview
  LLC.”). However, the NCAA has not moved to disqualify MayLightfoot PLLC at this point.



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  imputed to an attorney’s firm because “[s]uch situations can be considered from the premise that

  a firm of lawyers is essentially one lawyer for purposes of the rules governing loyalty to the client,

  or from the premise that each lawyer is vicariously bound by the obligation of loyalty owed by

  each lawyer with whom the lawyer is associated.” (RPC 1.10, Comment No. 2). This is nothing

  extraordinary; instead, it is simply the codification of the well-established principle that an agent’s

  knowledge and actions are imputed to the agent’s principal. See United States v. Dish Network,

  LLC, 954 F.3d 970, 978 (7th Cir. 2020) (“The knowledge of the agent is imputed to the principal.”);

  Hamilton v. Hamilton, 132 N.E.3d 428, 433 (Ind. Ct. App. 2019) (”Under the rule of imputed

  knowledge, ‘the law imputes the agent’s knowledge to the principal.’”) (citations omitted). For

  multiple reasons, Mr. Sakthivel's conflict of interest should be imputed to his employer at the time

  of the conflict, FeganScott.

          First, FeganScott represented that Mr. Sakthivel was placed on administrative leave from

  the firm on April 26, 2022, a status which still associates him with FeganScott. (See, Ex. A, Casey

  Decl., at Ex. 4 p. 3). The facts therefore satisfy RPC 1.10(a), which provides:

          While lawyers are associated in a firm, none of them shall knowingly represent a
          client when any one of them practicing alone would be prohibited from doing so by
          Rules 1.7, 1.9, or 2.2 unless the prohibition is based on a personal interest of the
          prohibited lawyer and does not present a significant risk of materially limiting the
          representation of the client by the remaining lawyers in the firm. RPC 1.10 (a)
          (emphasis added).

          Second, even if Mr. Sakthivel’s association with FeganScott has terminated, the

  circumstances still violate RPC 1.10(b). This rule provides:

          When a lawyer has terminated an association with a firm, the firm is not prohibited
          from thereafter5 representing a person with interests materially adverse to those of
          a client represented by the formerly associated lawyer and not currently represented

          5
            Notably, the RPC contemplates a conflict of interest concerning an old and new matter; the
  circumstances here are even graver because they concern the very same lawsuit, i.e. the applicable matter
  is the same.



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         by the firm unless: (1) the matter is the same or substantially related to that in which
         the formerly associated lawyer represented the client; and (2) any lawyer remaining
         in the firm has information protected by Rules 1.6 and 1.9(c) that is material to the
         matter. (emphasis added).

  The facts satisfy the above rule for several reasons. To begin, it is undisputed that the matter at

  issue is the “same” lawsuit. Further, FeganScott has possessed the information protected by RPC

  1.6(a) and 1.9(c). RPC 1.6(a) protects “information relating to representation of a client.” RPC

  1.6’s “confidentiality rule, for example, applies not only to matters communicated in confidence

  by the client but also to all information relating to the representation, whatever its source.” Id. at

  Comment No. 3. RPC 1.9(c) prohibits use of “information relating to representation to the

  disadvantage of the former client.” Among other things, 640 documents tagged by Mr. Sakthivel

  as responsive contain “information relating to the representation of” the NCAA. (Ex. B.,

  Biederman Decl., at ¶ 28). Those documents have been produced to FeganScott in this lawsuit

  (id.), those documents are material to this matter, and are protected by RPC 1.6 and 1.9(c). These

  documents are material because Plaintiff’s ability to prove its burden of proof in this lawsuit, and

  the NCAA’s defensive strategy, depend on evidence contained in the content of documents

  produced, that support the parties’ claims and defenses. In addition, Mr. Sakthivel had the ability

  to take screenshots, recordings, and make copies of the documents or material provided to him in

  the Manassa Project with others, as well as discuss and share the contents, including on phone calls

  or on Zoom or Microsoft Teams meetings with screen sharing capabilities; however, Proteus

  cannot confirm the extent to which that may have occurred. (Id., at ¶ 25). This material is protected

  by RPC 1.6 and 1.9(c) as well.

         FeganScott can use the documents produced based on Mr. Sakthivel’s responsiveness

  review and coding to the disadvantage of the NCAA (see RPC 1.9(c)). Among other things,

  FeganScott will undoubtedly attempt to use these documents to support the purported merits of



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  Plaintiff’s claims. Further, no assurances can confirm that Mr. Sakthivel coded the 640 documents

  produced to FeganScott correctly for responsiveness, privilege, or confidentiality, especially

  because he breached the duty of loyalty owed to the NCAA by working for the NCAA while under

  the direct supervision of Plaintiff’s co-lead counsel. FeganScott can use mistagged documents

  within this universe to the NCAA’s disadvantage.

            Further, RPC 1.10 Comment 2 is instructive, and explains that, although RPC 1.10 (b)

  “operates to permit a law firm, under certain circumstances to represent a person with interests

  directly adverse to those of a client represented by a lawyer who formerly was associated with the

  firm,” the factual scenario here prohibits the firm (FeganScott) from representing a client (Plaintiff

  and the proposed class) even after the departure of the attorney formerly associated with the firm

  (Mr. Sakthivel):

            However, the law firm may not represent a person with interests adverse to those
            of a present client of the firm, which would violate Rule 1.7. Moreover, the firm
            may not represent the person where the matter is the same or substantially related
            to that in which the formerly associated lawyer represented the client and any other
            lawyer currently in the firm has material information protected by Rules 1.6 and
            1.9(c).

            As set forth above, this conflict violates RPC 1.7, and therefore is automatically imputed

  to FeganScott (supra at 11-15). Further, there is substantial risk of NCAA confidential information

  being used to materially advance Plaintiff’s and the proposed class members’ interests, which the

  Seventh Circuit deems sufficient to warrant disqualification. See e.g., Watkins, 869 F.3d at 525

  (“The commentary to Rule 1.9 states plainly that to require disqualification of an attorney from a

  new representation against a former client, either the old and new matters must be the same

  factual dispute or there must be a substantial risk of confidential information being used to

  materially advance the new client's interests.” (citing RPC 1.9 Comment No. 2) (emphasis

  added).



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         While the applicable facts in Watkins are distinguishable from this case, Watkins’ analysis

  indicates that disqualification is warranted here. 869 F.3d at 525. For example, there was “no

  specific factual overlap” between the representations at issue in Watkins, whereas here, the

  representations at issue concern the exact same lawsuit. (Id.). Further RPC 1.9 and its comments:

         clarify that a lawyer who acquires confidential client information of a particular
         type (e.g., a client’s financial information or information about a client's
         environmental compliance) owes a continuing duty to the client after the
         relationship ends: He must keep that information confidential and may not represent
         a new client if there is a substantial risk that the information would materially
         advance the new client’s position in the subsequent matter. When a substantial
         risk of information exploitation exists, the duties owed to the old and new client
         are in conflict, and the new representation is prohibited even if the subsequent
         matter is factually distinct.

  Watkins, 869 F.3d at 528 (emphasis added).

         Thus, disqualification under RPC 1.9(b) does not require actual evidence that FeganScott

  currently possesses material information protected by Rules 1.6 or 1.9(c). See also Leathermon v.

  Grandview Mem'l Gardens, Inc., No. 4:07-CV-137-SEB-WGH, 2010 WL 1381893, at *8-10 (S.D.

  Ind. Mar. 31, 2010) (granting motion to disqualify counsel under current versions of RPC 1.9 and

  1.10, based on presumption that the attorney received confidential information during prior

  representation because of the substantial relationship between the conflicted matters). “Also, the

  presumption of shared confidential information is particularly appropriate given that [Ms. Fegan]

  supervised [Mr. Sakthivel].” Hobson v. Trans Union, LLC, No. 1:13-CV-54, 2013 WL 12309518,

  at *5 (N.D. Ind. Nov. 21, 2013); see also LaSalle Nat'l Bank v. Lake Cnty., 703 F.2d 252, 255-56

  (7th Cir. 1983) (reasonable to infer that attorney had received client confidences given his

  supervisory authority); see also Emmis Operating Co. v. CBS Radio, Inc., 480 F. Supp. 2d 1111,

  1118-1119 (S.D. Ind. 2007) (granting motion to disqualify counsel under current version of RPC

  1.9, and due to the existence of a substantial relationship, “it is unnecessary for the movant to




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  prove that the attorney in question actually received during the course of his former employment

  confidential information relevant to matters involved in the subsequent representation”).


                              IV.     Conclusion and Prayer for Relief

          For the reasons set forth above, FeganScott’s representation of Plaintiff and the proposed

  class members violates the RPC, which warrants FeganScott’s immediate disqualification from

  this lawsuit.

          In addition to disqualification, the NCAA respectfully requests that the Court enter an

  Order requiring FeganScott to pay the attorneys’ fees and costs the NCAA incurred in connection

  with investigating the conflict of interest discussed herein, and in filing this Motion.




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   DATED: May 23, 2022                              Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been filed using this court’s ECF system on all counsel of record .

                                                           /s/ Brian E. Casey
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